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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 ERIC BERNARD (#R-25398), a/k/a TERRELL
 KING,

                   Plaintiff,
                                                            Case No. #:20-cv-50412
              v.
                                                            Hon. Iain D. Johnston
 ROB JEFFRIES, ANDREA TACK, SONJA
 NICKLAUS, JOHN VARGA, ANN GRANGER,
 MONICA CARPENTER, CELIA GROSSMAN,
 LACI BARLO, WEXFORD HEALTH
 SOURCES, INC., UNKNOWN WEXFORD
 HEALTH SOURCES EMPLOYEES, and
 UNKNOWN ILLINOIS DEPARTMENT OF
 CORRECTIONS EMPLOYEES,

                   Defendants.


                                   AMENDED COMPLAINT

       NOW COMES Plaintiff Eric E. Bernard, by and through his counsel, for his Amended

Complaint against Defendants Illinois Department of Corrections and Wexford Health Sources,

Inc. (collectively, “Defendants”). In support of his Amended Complaint, Mr. Bernard states as

follows:

                                           Introduction

       1.      This civil rights action is brought to redress Plaintiff Eric E. Bernard’s federally

protected rights under the Americans with Disabilities Act (“ADA”), 42 U.S.C. §§ 12101, et

seq., and the Rehabilitation Act of 1973, 29 U.S.C. § 701 et seq.

       2.      Mr. Bernard is a thirty-eight-year-old man and is currently incarcerated at the

Dixon Correctional Center (“Dixon”), in the care and custody of the Illinois Department of

Corrections (“IDOC”).
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       3.      From an early age, Mr. Bernard’s life has been marked by tragedy. At the age of

nine, Mr. Bernard witnessed his father murder his mother. Days later, Mr. Bernard witnessed his

uncle murder his father.

       4.      As a result, Mr. Bernard suffers from acute post-traumatic stress disorder and

other lasting mental disabilities.

       5.      But rather than provide adequate mental health treatment for Mr. Bernard’s

mental disabilities, IDOC staff often left Mr. Bernard to languish in isolation. During his

isolation, Mr. Bernard suffered flashbacks and attempted suicide multiple times.

       6.      During one-such suicide attempt on or about March 20, 2019, Mr. Bernard

suffered a stroke-like episode that left him incapacitated. As a result, Mr. Bernard remains

unable to walk, stand, sit up on his own, or perform basic tasks like eating, bathing, and toileting.

       7.      While under the care of the IDOC at the Stateville Correctional Center

(“Stateville”) and University of Illinois Hospital (“UIC”), Mr. Bernard was neglected,

mistreated, and denied needed medical care. Mr. Bernard’s mistreatment prior to being

transferred to Dixon is the subject of at least three other currently pending lawsuits.

       8.      For example, on or about August 27, 2019, Stateville Corrections Officers ordered

Mr. Bernard to walk to his cell door and present his wrists to “cuff up,” despite Mr. Bernard’s

known physical disabilities. When Mr. Bernard could not comply with their directives, Stateville

officers repeatedly attacked and maced Mr. Bernard before extracting him from his cell. See

Bernard v. Baldwin, et al., 20-cv-5368 at Dkt. No. 57.

       9.      Mr. Bernard’s physical condition continued to deteriorate after his stroke, in large

part due to IDOC and nursing staff’s refusal to provide Mr. Bernard with rehabilitative care to

regain physical mobility. When Mr. Bernard was admitted to outside facilities for therapy, IDOC



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staff refused to unshackle Mr. Bernard’s legs and arm from his hospital bed, thereby preventing

his medical team from providing him physical therapy and contributing to his physical

deterioration. See Bernard v. Jeffreys, et al., 20-cv-5341 at Dkt. No. 24.

        10.     As a result of the persistent efforts of an attorney advocate, Mr. Bernard was

transferred to Dixon, a medical facility which purported to be better equipped to accommodate Mr.

Bernard’s grave physical disabilities.

        11.     Tragically, Mr. Bernard continues to face discrimination while at Dixon because of

his disabilities. Mr. Bernard brings this action to redress the harm he has endured while at Dixon,

whose staff continue to intentionally discriminate against him, and to compel staff to provide him

necessary accommodations for his disabilities.

                                         Jurisdiction and Venue

        12.     This court has original jurisdiction over this matter pursuant to 28 U.S.C. § 1331

and 1343(a), as Mr. Bernard’s causes of action are brought under Title II of the Americans with

Disabilities Act, 42 U.S.C. §§ 12101, et seq., and the Rehabilitation Act of 1973, 29 U.S.C. §

701 et seq.

        13.     Venue is proper in this court pursuant to 28 U.S.C. § 1391(b)(1) and (2), as the

events giving rise to this lawsuit occurred in this judicial district.

                                                 Parties

        14.     Mr. Bernard was, at all times relevant to this complaint, a prisoner incarcerated at

Dixon located at 2600 N Brinton Ave in Dixon, Illinois. Mr. Bernard remains currently

incarcerated at this facility.

        15.     Defendant IDOC is a government agency responsible for all Illinois state prisons,

including Dixon.

        16.     Defendant Wexford Health Sources (“Wexford”) is a corporation headquartered

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in Pennsylvania and doing business in Illinois. Wexford contracts with the State of Illinois to

provide healthcare at IDOC prisons throughout the state, including Dixon. In addition, Wexford

is a recipient of federal funds.

                                                 Facts

        A.      Mr. Bernard’s Disabilities

        17.     On or about March 20, 2019, while incarcerated at Pontiac Correctional Center,

Mr. Bernard suffered a severe medical event comprising of seizures and dyskinesia, which

physicians later described as L-sided mutifocal subacute infarcts. This stroke-like event rendered

Mr. Bernard nearly completely incapacitated, with extreme body weakness and an inability to

move the entire right side of his body. Mr. Bernard was unable to walk, stand, or otherwise move

without assistance.

        18.     Mr. Bernard has also been diagnosed with severe mental illnesses including

schizophrenia (bipolar), post-traumatic stress disorder, antisocial personality disorder, and

borderline personality disorder. For years, Mr. Bernard has been denied mental health

medications to manage these long-term disabilities.

        19.     On or about March 30, 2019, Mr. Bernard was referred to UIC, who arranged for

Mr. Bernard to be placed at Schwab Rehabilitation Hospital (“Schwab”) to receive treatment and

rehabilitative care for the effects of his stroke.

        20.     On or about April 19, 2019, Mr. Bernard was admitted to Schwab to begin

physical therapy, occupational therapy, and other forms of treatment related to his stroke. While

at Schwab, Mr. Bernard made marked progress towards regaining some physical functioning,

including the ability to stand from his wheelchair using grab bars with minimal assistance, and

was able to groom and dress himself with some assistance from staff.



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       21.     However, Mr. Bernard was only permitted to receive therapy for small amounts of

time due to IDOC’s refusal to unshackle him, in direct conflict with Mr. Bernard’s doctors’

advice and treatment plan.

       22.     Mr. Bernard was once again admitted to UIC on June 19, 2019, at the

recommendation of his primary neurologist due to the worsening of Mr. Bernard’s medical and

physical condition. Upon discharge, Mr. Bernard’s neurologist recommended that he return to

Schwab to continue his physical therapy.

       23.     Schwab agreed to accept Mr. Bernard as a patient upon release from UIC. Despite

this, IDOC and Wexford refused to allow Mr. Bernard to return. Instead, Mr. Bernard was sent

back to Stateville, and later transferred to Dixon, where he has continuously been denied the

physical, occupational, speech, psychological, and medical education therapy recommended by

his neurologists and other treating physicians at UIC.

       24.     Mr. Bernard was transferred to Dixon on or about September 6, 2019 and is

housed in the facility’s Health Care Unit.

       25.     At the time of Mr. Bernard’s transfer to Dixon, he was, and remains, in need of

comprehensive therapy related to his stroke. Dixon and Wexford remain unwilling to provide

Mr. Bernard with comprehensive therapy and the comprehensive assistive devices required to

improve Mr. Bernard’s functioning.

       26.     Not only have staff denied him the therapy and accommodations Mr. Bernard

needs for his condition to improve, but their denials have also increased the risk of new medical

complications. For example, Wexford staff has also informed Mr. Bernard that they are not

trained to perform range-of-motion exercises on physically disabled prisoners such as Mr.

Bernard who are at risk of muscle atrophy and bed sores. Due to Wexford staff’s refusal to



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perform this basic nursing intervention, Mr. Bernard is forced to endure pain for extensive

periods of time and remains at risk of further muscle weakening and bed sores.

        B.      Denial of Safe and Adequate ADA-Assistive Devices

        27.     Dixon does not have appropriate facilities, equipment, or staff to provide Mr.

Bernard with access to the level of physical and mental health care that Mr. Bernard’s mental

and physical conditions require.

        28.     Mr. Bernard requires the use of a “Hoyer Lift” to move him in and out of bed, into

his chair, and into and out of the bathtub.

        29.     Dixon’s Hoyer Lift is in a state of disrepair and is unsafe, which results in frequent

injuries to Mr. Bernard. Dixon staff have even witnessed Mr. Bernard fall out of the Hoyer lift on

several occasions, but, despite this fact, Defendants have refused to replace this outdated equipment.

        30.     Because Mr. Bernard is unable to sit up straight in a wheelchair without falling

out, Dixon has provided him with a geriatric chair (i.e., “geri chair”) which allows him to remain

reclining while staff transports him throughout the facility. This geri chair has broken cushioning

and is otherwise unstable, however.

        31.     On information and belief, employees of Defendants have witnessed Mr. Bernard

fall out of this geri chair multiple times while transported because of its instability.

        32.     Though Defendants understand that these and other ADA-assistive devices are

outdated, broken, and unsafe, Defendants have refused to order replacements.

        33.     Employees for Defendants often rely on untrained prisoners to operate the Hoyer

lift and geri chair while transporting Mr. Bernard, who often drop Mr. Bernard and cause him

further pain and suffering.

        34.     As a result of the unwillingness of medical staff to transport Mr. Bernard without

pain and risk of injury, Mr. Bernard is denied access to many of the programs, services, or

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activities offered at Dixon. These activities include, but are not limited to, yard/outdoor

activities, gym, recreation, educational classes, religious services, occupational therapy,

rehabilitation, and other programming.

       C.      Denial of Personal Hygiene Assistance

       35.     At the time of Mr. Bernard’s transfer to Dixon, he was, and remains, in need of

assistance performing basic activities, including bathing, toileting, changing his clothes,

grooming, and other daily personal hygiene needs. Among other things, Mr. Bernard has no

control over his bowels and wears a diaper that must be changed at regular intervals.

       36.     On information and belief, only one nurse and nurse’s assistant are assigned to the

Health Care Unit each shift. As a result, Mr. Bernard is deprived of effective and immediate

assistance when he needs a bath, change of clothes, or a diaper change.

       37.     Staff often neglect to assist Mr. Bernard with his daily hygiene needs, causing Mr.

Bernard to lay in his own excrement for many hours at a time.

       38.     At times Mr. Bernard lies in his cell almost completely naked and immobile. As a

result, Mr. Bernard has developed painful rashes and sores from his skin’s contact with his own

waste. He has gone months at a time without a bath or shower.

       39.     Due to the demolished padding and fissures in Mr. Bernard’s geri chair, Mr.

Bernard’s chair becomes unsanitary when he is made to sit for hours in a soiled diaper. Wexford

acknowledged that Mr. Bernard’s geri chair has become unsanitary and authorized the provision

of a replacement chair on November 10, 2021. Wexford has subsequently provided Mr. Bernard

with another geri chair, which was similarly broken and damaged.

       40.     Mr. Bernard has still not received a working replacement chair that allows him to

ambulate and can be adequately cleaned and sanitized.



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       41.     Employees for Defendants often ordered untrained prisoners to perform personal

hygiene tasks for Mr. Bernard. Mr. Bernard has been dropped repeatedly by untrained prisoners

who are ordered to provide such care and as a result has been injured, including injuries to his

head, lip, back, arm, leg, shoulder, wrist, and broken teeth.

       42.     For example, staff for Defendants have ordered untrained prisoners to cut Mr.

Bernard’s fingernails and toenails. On one occasion, this procedure was done improperly leading

to an infection.

       43.     Dixon’s staff, including medical staff and security officers, have permitted other

prisoners to sexually assault Mr. Bernard.

       44.     Richard Milan, a prisoner Defendants use as a medical aid in the facility, has

sexually assaulted Bernard several times by touching his genitals.

       45.     On information and belief, Dixon staff knew of this occurrence and continued to

allow Milan to assault Mr. Bernard.

       D.      Denial of Legal Assistance and Courtroom Access

       46.     From the time Mr. Bernard had arrived at Dixon in September 2019 until at least

January 27, 2020, Mr. Bernard had been denied equal access to his attorneys to the same extent

as prisoners without severe disabilities.

       47.     On January 27, 2020, at approximately 3:00 pm, Mr. Bernard was taken

downstairs from the medical unit by two unknown prisoners in his geri chair for an attorney visit.

While waiting for the visit Mr. Bernard’s bowels moved and bladder released. Dixon’s security

personnel refused Mr. Bernard’s requests that he be changed or cleaned and permitted the

prisoners to continue transporting Mr. Bernard to the visiting room. The prisoners dropped Mr.

Bernard while transporting him and Mr. Bernard began vomiting. Mr. Bernard was brought to



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his attorney visit in a soiled condition. While being escorted back to the medical unit, the

prisoners transporting Mr. Bernard dropped him again and one of them assaulted Mr. Bernard.

Once back in the medical unit, the only medical staff, a nurse and CNA, were unable to lift Mr.

Bernard. Lieutenant Granger and two officers had to had to assist but dropped Mr. Bernard,

causing injury to his back.

        48.    After this incident, Mr. Bernard’s attorneys were allowed to visit him in person in

the infirmary. But Mr. Bernard remains unable to access the law library and is often deprived

access to his own court hearings.

        49.    Because Mr. Bernard cannot access the law library due to his disability, he has

requested a law library kiosk to be installed in an area where he can readily access it from his

geri chair.

        50.    Rather than provide Mr. Bernard with this kiosk, IDOC instead requires Mr.

Bernard to request individual materials from law clerks at the library. This does not enable Mr.

Bernard to perform the research himself, and he is often forced to pay for materials that are not

ultimately useful or related to his legal research questions.

        51.    Mr. Bernard also has requested a legal aid to perform functions such as mailing

materials and carrying legal boxes full of discovery and court documents. Because IDOC has not

provided Mr. Bernard with a legal aid, important documents are rendered inaccessible, and Mr.

Bernard cannot easily access the mail to send documents to his attorneys or the courts.

        52.    On February 24, 2020, Mr. Bernard was forced to miss a court appearance to

defend himself in a parental rights case. IDOC staff had attempted to place Mr. Bernard in a

wheelchair during transport, but Mr. Bernard continually fell off the wheelchair due to his

inability to sit upright. Because IDOC staff refused to provide Mr. Bernard with adequate



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transportation services for him, Mr. Bernard could not appear at his hearing and was forced to

seek a continuance.

          53.   On February 27, 2020, IDOC arranged for Mr. Bernard’s transportation via

ambulance for Mr. Bernard to appear at his next family court hearing. But Wexford and IDOC

staff refused to accompany him to assist with necessary diaper changes while in transport and in

court.

          54.   In the hearing, Mr. Bernard noted to the court that he had not had his diaper

changed since 6:30 am and was forced to endure this proceeding while sitting in his own feces.

Mr. Bernard informed the court that he was in need of help and was concerned that the feces was

infecting the open sores on his body.

          55.   In September 2020 Mr. Bernard was scheduled to return to family court for a

“best-interest” hearing, at which his parental rights would be adjudicated. IDOC refused to

transport Mr. Bernard to the proceedings, and the trial court terminated Mr. Bernard’s parental

rights.

          56.   On October 5, 2020, Mr. Bernard filed a motion for a new trial, informing the

court that IDOC failed to make accommodations to allow medical aides to be present during

court proceedings to handle his personal hygiene needs. This motion was denied, and Mr.

Bernard appealed.

          57.   On April 8, 2021, the appellate court reversed. The court described that IDOC

was “not appropriately anticipating Eric’s needs,” including “its failure to anticipate Eric would

need a gurney and an ambulance to attend court.” In re Adoption of T.B., 2021 IL App (4th)

200575-U at ¶ 77.




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       58.     The court further stated that “[n]o person should have to endure the indignity” of

being “forced to sit in his own feces and suffer injury while doing so…particularly while

attempting to protect his or her rights in a court of law.” Id.

       59.     The appellate court instructed IDOC to “ensure [that] Eric’s physical and basic

needs will be met” when the matter resumed in the trial court below.

       60.     Months in advance of a hearing on January 14, 2022, Mr. Bernard filed a motion

requesting IDOC to send a nurse accompanying him at his hearing to handle his toileting needs.

This motion was granted on November 19, 2022.

       61.     Despite this court order, Mr. Bernard was yet again forced to sit in his own urine

and feces during his hearing.

       62.     Mr. Bernard informed the trial court that Wexford nurses had failed to put a

condom catheter on Mr. Bernard in advance of the hearing. Wexford staff had refused to

accompany him to the courthouse, in defiance of the court order.

       63.     Mr. Bernard started to cry as he explained that his urine was soaking the floor of

the courthouse and causing him to itch and burn where it seeped into his sores and rashes.

       64.     Mr. Bernard suffered this indignity during the entire proceeding.

       E.      Denial of Mental Health Accommodations

       65.     On April 11, 2021, Mr. Bernard was prescribed prazosin for his PTSD-related

nightmare and hyperarousal. Mr. Bernard was also prescribed lithium to target irritability and

mood swings.

       66.     On April 21, 2021, Mr. Bernard had lit a small fire in his cell to gain the

Warden’s attention after being deprived access to his peers in recreation and group therapy.




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        67.      The next day, as punishment for his actions, Wexford employee Nurse Hoffman

discontinued Mr. Bernard from lithium and prazosin, medications to address his PTSD and

borderline personality disorders, noting that Mr. Bernard “[d]oes not really take accountability

for his actions of starting a fire,” and is “non-compliant with lithium and prazosin.”

        68.      This was done despite a same-day determination from Wexford staff members in

a mental health disciplinary review of the event that Mr. Bernard’s “diagnosed mental illness

was not a mitigating factor in the actions resulting from his ticket.”

        69.      Defendants determined that Mr. Bernard was culpable for his disciplinary

infractions, which were not caused by his mental disabilities. These mental health medications

were therefore discontinued punitively solely due to his disciplinary infractions, rather than for

therapeutic reasons.

        70.      After repeatedly requesting to be reinstated on his mental health medications, Mr.

Bernard attempted suicide once again by swallowing metal screws.

        71.      When Mr. Bernard is placed on crisis watch due to these suicidal episodes, he has

been denied baths, dayroom and group activities, and has not been allowed to write Grievances

nor put them in a Grievance Box.

        72.      To this day, Mr. Bernard is denied mental health medications that are needed to

accommodate his long-term and incurable mental disabilities, including PTSD and borderline

personality disorder. 1 He remains at risk of depression and suicide.




1
  In continuously denying Mr. Bernard access to medication needed to accommodate his long-term mental health
disability, Defendants are also in clear violation of the Eighth Amendment’s bar on cruel and unusual punishment.
They know of his need for the medication and of the adverse effects that Mr. Bernard suffers without it yet continue
to deny him the medication. Mr. Bernard does not raise these claims in this complaint in adherence to this Court’s
Order, See Dkt. No. 47. but reserves the right to raise these claims should the Court reconsider its order or if Mr.
Bernard’s cases are reconsolidated.

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        73.     Despite this risk, Mr. Bernard’s psychiatrist, an employee of Wexford,

continuously denies Mr. Bernard medication, explaining that he is merely trying to “split” and

“antagonize” staff.

        F.      Denial of Access to Outside Medical Care and Dental Care

        74.     Mr. Bernard is frequently denied access to outside medical care and dental care on

the basis of his disability.

        75.     Though Dixon offers prisoners dental care at the facility, there exist no portable

dental x-ray machines or dental chairs that are designed for disabled prisoners like Mr. Bernard.

        76.     Mr. Bernard has requested to receive dental care from an outside dental facility

that can adequately receive and treat disabled patients, but Mr. Bernard has yet to receive any

such care. As a result, Mr. Bernard has cavities, decaying and broken teeth, and exposed nerves

which cause him immense pain and suffering.

        77.     Mr. Bernard has been repeatedly denied access to medical care from outside

facilities.

        78.     On information and belief, Mr. Bernard waited over two years for Defendants to

schedule a follow-up appointment with his neurologist, whom he had not seen since his release

from UIC in 2019.

        79.     When Mr. Bernard finally received an appointment scheduled for January 2022,

staff could not adequately transport him. Mr. Bernard was forced to postpone his appointment.

        80.     Mr. Bernard was finally able to receive another appointment to see his neurologist

in March 2022, to be transported via ambulance. On the day of his appointment, however, Mr.

Bernard was informed by IDOC staff that the ambulance was “cancelled.”




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         81.   Transportation via ambulance is not a reliable mode of transportation, as the

ambulance is reserved for individuals experiencing medical emergencies. In at least one instance,

Mr. Bernard was deprived access to a preexisting medical appointment because the ambulance

was called to handle a different patient’s emergency call.

         82.   When Mr. Bernard was finally able to be transported via ambulance to the

neurologist for an MRI, Wexford staff did not accompany him in transport and at his

appointment to assist with any diaper changes Mr. Bernard needed. As a result, the MRI was

canceled due to Mr. Bernard wearing a soiled diaper.

         G.    Complete Isolation from Family and Peers

         83.   Since arrival at Dixon on September 6, 2019, and for roughly two years while in

the infirmary, Mr. Bernard has been left to deteriorate in near-total isolation from family and his

peers.

         84.   Mr. Bernard was repeatedly denied physical accommodations, such as

transportation assistance, that would allow him to attend group therapy sessions, recreation, and

day room to socialize with his peers while confined to the infirmary unit of Dixon.

         85.   Defendants were well-aware that Mr. Bernard’s mental health would struggle

because of this isolation. In fact, Wexford mental health staff had explicitly included group

therapy and social interaction as integral parts of Mr. Bernard’s mental health treatment plan.

         86.   Despite this fact, Defendants refused to provide Mr. Bernard with socialization

and group therapy. Mr. Bernard’s “group” therapy consisted of one-on-one therapy with a

qualified mental health provider, where no other prisoners were present.

         87.   During a multidisciplinary staff meeting held on February 16, 2022, regarding Mr.

Bernard’s progress, IDOC’s Northern Regional Psychologist Administrator noted that resident



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treatment unit programming level of care “is not possible” for patients like Mr. Bernard in an

infirmary setting, and that a referral to another facility is warranted to provide Mr. Bernard with

more adequate programming.

       88.     As part of Mr. Bernard’s mental health treatment plan, he is entitled to up to ten

hours of unstructured out-of-cell time a week. Though Mr. Bernard repeatedly requested this out-

of-cell time, it was often denied for reasons such as “operational availability.”

       89.     When Mr. Bernard was later offered out-of-cell time, he was nevertheless denied

access to outdoor recreation solely because he lived in Dixon’s infirmary.

       90.     On March 17, 2021, a Wexford qualified mental health practitioner reported that

in lieu of outdoor recreation, he had a weekly one-on-one meeting with a therapist to “address

his leisure needs.” On information and belief, Mr. Bernard was denied access to outdoor

recreation from his arrival at Dixon in September 2019 until at least July 2021.

       91.     Employees have informed Mr. Bernard that he cannot see visitors because he is

too incapacitated to travel from the infirmary to the visitor center. On information and belief,

employees for Defendants have stated that only those individuals who can walk or can sit in a

wheelchair can see visitors.

       92.     Defendants are well-apprised that Mr. Bernard is being denied access to visitation

services due to his physical incapacitation but have not provided any accommodations to allow

Mr. Bernard access to visitation services.

       93.     Though Mr. Bernard’s attorneys have been granted access to visit him in the

infirmary, Mr. Bernard’s family has not.

       94.     As a result, Mr. Bernard has not seen his family, including his children, since

September 2019.



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        95.     Worse still, Mr. Bernard cannot access video visitation services because the video

screen is positioned for individuals who are capable of positioning themselves upright in a chair

to look directly at the screen. Because Mr. Bernard cannot sit upright, his family cannot see him

when he makes a video call. They haven’t seen his face in over two years.

        96.     Though Mr. Bernard can access the prison telephones while in his geri chair, he

cannot propel himself to the phone area. Mr. Bernard does not always have prison staff or other

prisoners available to move him to the telephone area so he often must forego calls with friends

and family due to his disability.

        97.     Moreover, unlike other prisoners who have the privacy of a telephone booth for

their calls, the ADA-compliant phone does not have a privacy booth. Mr. Bernard is therefore

not afforded the same level of privacy as other prisoners during his telephone calls.

        H.      Notice

        98.     Mr. Bernard has filed more than 100 grievances detailing the discrimination he

has suffered on the basis of his disability, including all of IDOC and Wexford’s failures to

provide accommodation. Such grievances provide notice to the IDOC and Wexford staff about

Mr. Bernard’s disabilities and his need for accommodations to access the programs, services, or

activities offered at Dixon.

        99.     Mr. Bernard has also made personal complaints to Warden Varga, Warden Nicklaus,

Warden Tack, Wexford Nurses Carpenter and Dacie, and other Unknown Medical Staff regarding the

discrimination he has faced by virtue of his physical and mental disabilities.

        100.    On information and belief, Wexford has been made aware of Mr. Bernard’s need for

accommodations via multiple sources aside from Mr. Bernard himself, including through its own

staff, IDOC personnel, court orders and decisions in Mr. Bernard’s paternity case, and Mr. Bernard’s

multiple lawsuits against Wexford.

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       101.    In the Fall of 2020, IDOC Director Rob Jeffries visited Dixon’s medical unit and

personally observed Mr. Bernard in a soiled and un-cared for condition. Mr. Bernard also made a

personal complaint to Director Jeffries about his condition and treatment at that time.

                                           Count I
                      42 U.S.C. § 12101 – Americans with Disabilities Act
                                    Against All Defendants

       102.    Plaintiff incorporates each paragraph of this complaint as if fully restated here.

       103.    Title II of the ADA states that “no qualified individual with a disability shall, by

reason of such disability, be excluded from participation in or be denied the benefits of services,

programs, or activities of a public entity, or be subjected to discrimination by any such entity.”

42 U.S.C. § 12132.

       104.    IDOC is a public entity as defined in 42 U.S.C. § 12131(1).

       105.    Department of Justice regulations implementing Title II of the ADA state that its

protections extend “to prisons operated by public entities directly or through contractual or other

relationships.” 28 CFR 35.152(a). Because Wexford has contracted with the state of Illinois to

provide medical services to prisoners within IDOC, Wexford is a public entity subject to the

ADA.

       106.    Mr. Bernard has mental and physical disabilities within the meaning of the ADA.

He was otherwise qualified to participate in programs, services, or activities offered by the

IDOC, including but not limited to: medical, dental, and mental health services; recreational

activities; occupational and physical therapeutic services; religious programming; outdoor

activities; educational programming; visitation and telephone services; personal hygiene

services; and legal services.

       107.    Under Title II of the ADA and 28 C.F.R. § 35.130(a), IDOC and its contractual

agents are responsible for ensuring that individuals in its custody with disabilities are provided

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with reasonable accommodations to prevent discrimination on the basis of disability and are not,

on the basis of disability, excluded from participation in or denied the benefits of its services,

programs, or activities because of their disability.

       108.     Defendants IDOC and Wexford violated Title II of the ADA by failing to provide

Mr. Bernard with necessary accommodations to access the programs, services, and activities

described herein.

       109.     Defendants also subjected Mr. Bernard to overt discrimination on the basis of his

disability by knowingly allowing other prisoners to sexually and physically assault Mr. Bernard,

solely because he is paralyzed and unable to protect himself from attack.

       110.     Defendants had knowledge that harm to Mr. Bernard’s federally protected rights

under the ADA was substantially likely and Defendants failed to act upon that likelihood.

                                            Count II
                            29 U.S.C. § 701 of the Rehabilitation Act
                                    Against All Defendants

       111.     Plaintiff incorporates each paragraph of this complaint as if fully restated here.

       112.     Section 504 of the Rehabilitation Act, 29 U.S.C. § 794, provides that “no

otherwise qualified individual with a disability in the United States… shall, solely by reason of

her or his disability, be excluded from the participation in, be denied the benefits of, or be

subjected to discrimination under any program or activity receiving Federal financial

assistance….”


       113.     Both IDOC and Wexford receive federal financial assistance and offer programs

and activities to prisoners incarcerated at Dixon.

       114.     Mr. Bernard has mental and physical disabilities within the meaning of the

Rehabilitation Act. He was otherwise qualified to participate in programs, services, or activities

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offered by Defendants, including but not limited to: medical, dental, and mental health services;

recreational activities; occupational and physical therapeutic services; religious programming;

outdoor activities; educational programming; visitation and telephone services; personal hygiene

services; and legal services.

        115.    Under the Rehabilitation Act, IDOC and Wexford are responsible for ensuring

that individuals in its custody with disabilities are provided with reasonable accommodations to

prevent discrimination on the basis of disability and are not excluded from participation in or

denied the benefits of its services, programs, or activities because of their disability.

        116.    Defendants IDOC and Wexford violated the Rehabilitation Act by failing to

provide Mr. Bernard with necessary accommodations to access the programs, services, and

activities described herein.

                                              Count III
                                        Title III of the ADA
                                         Against Wexford

        117.    Plaintiff incorporates each paragraph of this complaint as if fully restated here.

        118.    Wexford can reasonably accommodate Mr. Bernard’s disabilities, so as not to

exclude him from participation in, or deny him the benefits of, federally-funded services,

programs, or activities by reasonably accommodating Mr. Bernard’s mental and physical

disabilities.

        119.    Wexford fails to reasonably accommodate Mr. Bernard’s known disabilities,

notwithstanding that such accommodations are not an undue hardship.

        120.    Wexford wrongfully discriminates against Mr. Bernard on the basis of his

disabilities in the “full and equal enjoyment of the goods, services, facilities, privileges,




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advantages, or accommodations” that Wexford provides to other prisoners incarcerated by

IDOC. See 42 U.S.C. § 12182(a).

       121.    Wexford, as a contracted medical care provider of IDOC, through its agents,

employees, or representatives, acted and acts with deliberate, reckless, knowing, or intentional

disregard for the rights, health, and safety of Mr. Bernard, which proximately caused him harm.

                                    PRAYER FOR RELIEF

       WHEREFORE Plaintiff Eric Bernard respectfully requests that this Court enter a

judgment in his favor and against Defendants Illinois Department of Corrections and Wexford

Health Sources, Inc., and respectfully asks that this Court:

                   a. Enjoin Defendants continued discrimination and specifically order

                       Defendants to provide Plaintiff:

                           i. A new, functional electric geri chair, an automatic electric bed, and

                              functioning hoyer lift and slings;

                          ii. Access to the law library twice per week;

                          iii. Access to the chapel once per week;

                          iv. Access to daily mental health psychotherapy

                           v. Comprehensive physical therapy;

                          vi. Outside dental care for implants;

                         vii. Personal hygiene care while outside of Dixon, including at court

                              appearances and doctor’s visits;

                        viii. Access to visitation services;

                          ix. Ensure sufficient nursing/medical staff for the above and all of his

                              personal care, and no use of inmates or security staff for the same.



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                  b. Award compensatory damages, punitive damages, attorneys’ fees and

                      costs, and any other relief this Court deems just and appropriate.

                                        JURY DEMAND

       Plaintiff demands a trial by jury on all claims so triable.



Dated: May 18, 2022

                                              Respectfully Submitted,

                                              /s/ Kelly Jo Popkin
                                              Kelly Jo Popkin
                                              Attorney for Eric Bernard


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*Admission by pro hac vice pending




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